                United States Court of Appeals
                             FIFTH CIRCUIT
                          OFFICE OF THE CLERK
LYLE W. CAYCE                                        TEL. 504-310-7700
CLERK                                             600 S. MAESTRI PLACE,
                                                          Suite 115
                                                 NEW ORLEANS, LA 70130

                         January 21, 2025


Mr. George J. Armbruster III
Armbruster & Associates, A.P.L.C.
332 E. Farrel Road
Suite D
Lafayette, LA 70508
Mr. William V. Bergstrom
Cooper & Kirk, P.L.L.C.
1523 New Hampshire Avenue, N.W.
Washington, DC 20036
Ms. Janet R. Carter
Everytown Law
450 Lexington Avenue
P.O. Box 4184
New York, NY 10163
Mr. Joseph Greenlee
Greenlee Law, P.L.L.C.
P.O. Box 4061
McCall, ID 83638
Mr. Steven H. Hazel
U.S. Department of Justice
Civil Division
950 Pennsylvania Avenue, N.W.
Washington, DC 20530
Ms. Sarah A Hunger
Illinois Attorney General’s Office
Solicitor General’s Office
115 S. LaSalle Street
23rd Floor
Chicago, IL 60603
Mr. Timothy Robert William Kappel
Wells & Kappel, L.L.P.
1615 Poydras Street
Suite 900
New Orleans, LA 70112
Mr. John David Ohlendorf
Cooper & Kirk, P.L.L.C.
1523 New Hampshire Avenue, N.W.
Washington, DC 20036
Mr. Peter A. Patterson
Cooper & Kirk, P.L.L.C.
1523 New Hampshire Avenue, N.W.
Washington, DC 20036
Mr. David H. Thompson
Cooper & Kirk, P.L.L.C.
1523 New Hampshire Avenue, N.W.
Washington, DC 20036
Mr. Ivan Wohner
Everytown Law
1200 Pennsylvania Avenue, N.W.
P.O. Box 14780
Washington, DC 20044
Ms. Abby Christine Wright
U.S. Department of Justice
Civil Division
950 Pennsylvania Avenue, N.W.
Washington, DC 20530

    No. 23-30033    Reese v. Bureau of Alcohol
                    USDC No. 6:20-CV-1438

Dear Counsel,
Attached is a revised case caption, which should be used on all
future filings in this case.
                                Sincerely,
                                LYLE W. CAYCE, Clerk


                                By: _________________________
                                Rebecca L. Leto, Deputy Clerk
                                504-310-7703
                        Case No. 23-30033




Caleb Reese; Firearms Policy Coalition, Incorporated; Second
Amendment Foundation; Louisiana Shooting Association; Emily
Naquin,
                    Plaintiffs - Appellants
v.
Bureau of Alcohol, Tobacco, Firearms, and Explosives; Steven
Dettelbach, Director of the Bureau of Alcohol, Tobacco, Firearms
and Explosives; James R. McHenry III, Acting U.S. Attorney
General,
                    Defendants - Appellees
